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5

6    Attorney for defendant
     SCOTT PETERSON
7

8
                          UNITED STATES DISTRICT COURT
9
                         EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,            No.   10-CR-0299-08 WBS
12
                   Plaintiff,
13
          v.                              STIPULATION AND [PROPOSED] ORDER
14                                        TO EXTEND SELF SURRENDER DATE
     SCOTT PETERSON,
15
                   Defendant.
16

17        The defendant, Scott Peterson, by and through his

18   undersigned counsel and the United States, by and through its

19   undersigned counsel, hereby stipulate and agree that Mr.

20   Peterson’s self- surrender date, currently set for Tuesday, March

21   17, 2015 by 2:00 pm, should be extended to Monday, June 1, 2015

22   by 2:00 pm, to allow Mr. Peterson to safely recover from a recent

23   knee replacement surgery and continue attending outpatient

24   physical therapy as recommended by his physician.

25        On January 20, 2015, Mr. Peterson was sentenced to 26 months

26   imprisonment and 36 months supervised release; any applicable

27   fine was waived but he was ordered to pay a $100.00 special

28   assessment.   He was ordered to surrender by March 17, 2015 by
                                         1
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1    2:00 pm to begin his term of imprisonment.

2         On February 2, 2015, Mr. Peterson underwent inpatient knee

3    surgery. Following a short hospital stay, he was released and

4    instructed to attend outpatient physical therapy.         At a follow-up

5    appointment, Mr. Peterson’s physician emphasized to him the need

6    for focused physical therapy for an anticipated duration of 6

7    more weeks and reviewed with him the need for care with respect

8    to infectious disease exposures in the first 3 months following a

9    total joint replacement.

10        I, William E. Bonham, the filing party, have received

11   authorization from AUSA Justin Lee to sign and submit this

12   stipulation and proposed order on his behalf.         PTS Officer Ryan

13   Garcia has been informed and has no objection to the proposed

14   extension.

15        Accordingly, the parties stipulate and request that Mr.

16   Peterson’s self- surrender date be extended to Monday, June 1,

17   2015 by 2:00 pm.

18   Dated: March 4, 2015                    BENJAMIN B. WAGNER
                                             United States Attorney
19

20                                           By:/s/ WILLIAM BONHAM for
                                             JUSTIN LEE
21                                           Assistant U.S. Attorney

22

23   Dated: March 4, 2015                    By:/s/ WILLIAM    BONHAM for
                                             WILLIAM BONHAM
24
                                             Counsel for defendant
25                                           SCOTT PETERSON
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                                         2
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1                                      ORDER

2         IT IS SO ORDERED. Mr. Peterson’s self-surrender date,

3    currently set for Tuesday, March 17, 2015 by 2:00 pm, is extended

4    to Monday, June 1, 2015 by 2:00 pm.

5    Dated:   March 5, 2015
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